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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 1:21-CV-21079-Bloom/Torres

 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

             PLAINTIFF’S MOTION FOR REMEDIES AGAINST DEFENDANTS

                                         I. INTRODUCTION

        Following a ten-day jury trial, a verdict was returned in favor of Plaintiff Securities and

 Exchange Commission (“Commission” or “SEC”) finding Defendant MintBroker International, Ltd.,

 f/k/a Swiss America Securities Ltd. and d/b/a SureTrader (“SureTrader”), and its founder, owner,

 and chief executive officer Guy Gentile (“Gentile”) liable for violations of Section 15(a)(1)1 of the

 Securities Exchange Act of 1934 (“Exchange Act”). Gentile was additionally found liable for

 violations of Section 20(b) of the Exchange Act.

        “Once [a] district court has found federal securities law violations, it has broad . . . power to

 fashion appropriate remedies[.]” SEC v. First Jersey Sec., Inc., 101 F.3d 1450, 1474 (2d Cir. 1996);

 SEC v. First Pacific Bancorp, 142 F.3d 1186, 1193 (9th Cir.1998) (noting a “district court has broad

 . . . powers to fashion appropriate relief for violations of the federal securities laws”). As discussed


 1
  A Clerk’s Default was entered against SureTrader on November 16, 2021. ECF No. [46]. The SEC
 seeks entry of default final judgment against SureTrader pursuant to the Court’s Order on Default
 Final Judgment Procedure, ECF No. [47], based on its default and the jury finding that SureTrader
 violated Section 15(a)(1). ECF Nos. [313].
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 below, the Commission asks this Court to order the following remedies and enter final judgments

 providing: (a) a permanent injunction against Gentile enjoining him from future violations of the

 federal securities laws that the jury found he violated; (b) disgorgement against SureTrader and

 Gentile, on a joint and several basis, in the amount of $13,129,809, plus prejudgment interest of

 $3,547,617, for a total of $16,677,426; (c) additional disgorgement against Gentile in the amount of

 $1,083,750, plus prejudgment interest of $502,278, for a total of $1,586,028; and a civil money

 penalty against Gentile in the amount of $1,887,378.2

                           II. SUMMARY OF DEFENDANTS’ CONDUCT

        SureTrader was a company incorporated under the laws of the Commonwealth of The

 Bahamas with its principal place of business in Nassau, The Bahamas. 3 It had been registered with

 the Securities Commission of The Bahamas (“SCB”) as a broker-dealer since 2011 through

 September 2019.4 Gentile is the founder, owner, director, and CEO of SureTrader.5 Gentile was the

 founder of and, through a trust, the controlling owner of Mint Global Markets, Inc. (fka Stock USA

 Execution Services, Inc., dba SpeedTrader), a broker-dealer formerly registered with the SEC.6 He

 previously held Series 4, 7, 24, 55, and 63 licenses, all of which have expired.7

        Since at least March 2016 through November 2019 (“Relevant Period”), Gentile, through

 SureTrader, marketed itself to novice day traders seeking to avoid U.S. regulations on securities

 trading, including regulations on pattern day trading and leverage.8 SureTrader solicited securities


 2
   The SEC is foregoing seeking injunctive relief and a civil money penalty as to SureTrader because
 the Bahamian Supreme Court appointed Joint Official Liquidators (JOLs”) for SureTrader, who are
 in the process of completing the liquidation of the company, at which point the SEC understands it
 cannot be revived.
 3
   ECF No. [80], Gentile’s Amended Answer and Affirmative Defenses (“Answer”) at ¶¶ 1, 12.
 4
   Id. at ¶¶13, 25.
 5
   Id. at ¶¶ 1, 12.
 6
   Id. at ¶ 17.
 7
   Id.
 8
   ECF No. [346], Transcript of Trial (“Trial Tr.”) Day 2 at 45:10-46, 51:11-21, 58:13-20, 63:11-14;
                                                   2
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 transactions from thousands of U.S.-resident prospective and existing customers (“U.S. Customers”)

 through its website, by email, and by means of advertisements on popular U.S.-based day trading

 websites (known inside SureTrader as “Affiliates”) without registering with the SEC in violation of

 Section 15(a) Exchange Act.9 As determined by the jury in this case, SureTrader failed to meet the

 conditions for an exception or exemption to registration for foreign-broker dealers provided by Rule

 15a-6 of the Exchange Act.10

        SureTrader, through its website, marketed itself to novice day traders seeking to avoid

 FINRA’s Pattern Day Trader Rule. Specifically, SureTrader’s website heralded that trading through

 SureTrader will “Allow You to Avoid the Nasty PDT Rule,” and asked prospective customers if they

 “are up for circumventing the rules and getting what you want.”11 SureTrader charged commissions

 of $4.95 per trade and sometimes as low as $1.95 per trade.12

        When SureTrader initially went into business in 2011, it had only three employees.13 Shortly

 thereafter, SureTrader, through Gentile, began soliciting U.S. Customers through, among other ways,

 advertisements it placed on popular U.S.-based day trading websites of Affiliates.14 In addition to

 its Affiliates program, SureTrader’s website also marketed the firm to U.S. Customers, comparing

 itself to well-known U.S. brokerage firms offering self-directed platforms, providing U.S. telephone

 numbers for contact, stating commissions and costs in U.S. dollars, and only allowing for trading of




 ECF No. [323-17], Plaintiff’s Exhibit (“PX”) 265; ECF No. [321-5], PX 18; ECF No. [323-9], PX
 235.
 9
   ECF Nos. [321-5], PX 18; [321-7], PX 20; [323-2], PX 188; [323-5], PX 224; [323-8], PX 234;
 [323-10], PX 237; [323-11], PX 238; [323-12], PX 241; [323-13], PX 242; [323-14], PX 243; [323-
 16], PX 260; [323-17], PX 265.
 10
    ECF No. [313] at p.1.
 11
    ECF No. [323-17], PX 265.
 12
    ECF No. [321-4], PX 8.
 13
    Answer at ¶ 5.
 14
    Trial Tr. Day 2 at 63:15-18.
                                                  3
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 U.S. equities and options.15 Finally, SureTrader also sent emails directly to U.S. Customers about

 participating in a demo trading program and offering $99 worth of free trades, among other things.16

        SureTrader and Gentile’s solicitation efforts resulted in a steady increase in new accounts,

 with hundreds of accounts being opened each month.17 During the Relevant Period, U.S. Customers

 comprised at least 50% and, at times, as high as 80% of SureTrader’s customer base.18 By 2018,

 SureTrader had nearly 75 employees and had over 40,000 customer accounts, generating millions in

 trading commissions and other fees assessed by the firm.19 As CEO and majority shareholder,

 Gentile owned and exercised control over and had sole discretion regarding all aspects of

 SureTrader’s operations.20

        SureTrader and Gentile took deliberate steps to create the false appearance that they were not

 soliciting U.S. Customers. For example, during the Relevant Period, SureTrader also required U.S.

 Customers to sign an “Unsolicited Acknowledgement Agreement” (“UAA”), which provided: “I

 affirm that in no way did Swiss America Securities, Ltd solicit me to become a client. I initiated

 contact with Swiss America Securities, Ltd on an unsolicited basis. I understand that Swiss America

 Securities, Ltd does not target or intend their services for United States citizens or residents.”21

 However, SureTrader’s Chief Compliance Officer testified at trial that the UAA became part of the

 series of disclosures and other documents that were automatically “signed” when the customer

 opened a new account electronically.22


 15
    ECF Nos. [323-13], PX 242; [323-16], PX 260; [323-12], PX 241; Trial Tr. Day 2 at 78:16-85:2.
 16
    ECF No. [321-5], PX 18.
 17
    Trial Tr. Day 2 at 60:2-16.
 18
    ECF Nos. [321-3], PX 8; [321-4], PX 7; Trial Tr. Day 2 at 74:7-13; ECF No. [347], Trial Tr. Day
 3 at 56:22-57:2.
 19
    Answer at ¶¶ 5, 93.
 20
    ECF Nos. [321-1], PX 4; [321-2], PX 5; Trial Tr. Day 3 at 13:23-25, 35:13-18, 73:14-24; ECF No.
 [349], Trial Tr. Day 5 at 18:21-19:1.
 21
    ECF No. [322-2], PX 151 at p. 9.
 22
    Trial Tr. Day 2 at 66:25-67:10.
                                                  4
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        Additionally, by October 2017, Gentile was concerned about the SEC’s investigation into

 potential registration violations and told his team to create an IP based “pop-up blocker” to vitiate

 any appearance of solicitation.23 The pop-up blocker included a box for a password to access the

 website; however, it also included spaces for a new visitor to enter an email address or phone number

 to receive an access code.24 The pop-up window included an area for current U.S. Customers to login

 and gain website access.25 Testimony at trial confirmed that prospective U.S. Customers – indeed,

 all prospective customers – were provided with a generic passcode automatically upon request.26

        During the Relevant Period, SureTrader generated over $25.27 million in commissions from

 more than 14,000 U.S. Customers alone.27 These U.S. customers lost $29.69 million trading with

 SureTrader.28

                                 III. MEMORANDUM OF LAW

 A. The Court Should Enjoin Gentile From Violations of the Securities Laws

        The Court has authority to enjoin Gentile from committing further violations of Exchange

 Act, Section 15(a)(1).   See 15 U.S.C. § 78(u)(1) (authority for a federal district court to enter an

 injunction in SEC enforcement proceedings under the Exchange Act).           The SEC is entitled to

 injunctive relief when it establishes: (1) a prima facie case of previous violations of the federal

 securities laws, and (2) a reasonable likelihood that the wrong will be repeated. SEC v. Calvo, 378

 F.3d 1211, 1216 (11th Cir. 2004).

        The jury’s verdict establishes the first element against Gentile. Following a lengthy ten-day

 jury trial, the jury found that SureTrader violated Section 15(a)(1) of the Exchange Act and Gentile


 23
    Trial Tr. Day 2 at 94:8-96:13; Trial Tr. Day 3 at 64:23-65:16.
 24
    ECF No. [323-15], PX 259.
 25
    Id.
 26
    Trial Tr. Day 3 at 67:17-68:6; ECF No. [352], Trial Tr. Day 8 at 218:18-219:19.
 27
    Declaration of Alexander Lefferts (“Lefferts Dec.”) attached as Exhibit A at ¶ 23.
 28
    Id.
                                                  5
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 is liable for SureTrader’s violations as a control person and for violating Section 15(a)(1) of the

 Exchange Act through or by means of SureTrader in violation of Section 20(b) of the Exchange Act.

 Therefore, the SEC meets the Calvo requirement to show “a prima facie case of previous violations.”

 See SEC v. Miller, 744 F. Supp. 2d 1325, 1336 (N.D. Ga. 2010); SEC v. Graham, 823 F.3d 1357,

 1363 (11th Cir. 2016) (quoting Miller for the proposition: “[N]umerous courts have found no

 requirement that a defendant must have committed violations before the ones at issue. Indeed, the

 ‘previous’ violations relied upon by federal courts as a basis for injunctive relief are frequently the

 same ones just proven in the liability portion of those cases.”).

         Indicia that a wrong will be repeated include: (1) the egregiousness of the defendant’s

 violations, (2) the isolated or recurrent nature of the infraction, (3) the degree of scienter involved, (4)

 the sincerity of the defendant’s assurances against future violations, (5) the defendant’s recognition

 of the wrongful nature of his conduct, and (6) the likelihood that the defendant’s occupation will

 present opportunities for future violations. Calvo, 378 F.3d at 1216. The SEC need not prove every

 factor in order to obtain permanent injunctive relief. Id. While scienter is an important factor in this

 analysis, “it is not a prerequisite to injunctive relief.” Id. Moreover, “the likelihood of future illegal

 conduct is ‘strongly suggested’ by past illegal activity.” SEC v. American Bd. of Trade, 750 F. Supp.

 100, 104 (S.D.N.Y. 1990); SEC v. Management Dynamics, Inc., 515 F.2d 801, 807 (2d Cir. 1975).

          Here, the elements warranting an injunction are easily met. Defendants violated one of

  the central requirements of the federal securities laws. The registration requirement is “of the

  utmost importance in effecting the purposes of the Act” because it enables the Commission “to

  exercise discipline over those who may engage in the securities business and it establishes

  necessary standards with respect to training, experience, and records.”         SEC v. Benger, 697 F.

  Supp. 2d 932, 944 (N.D. Ill. 2010) (quoting Celsion Corp. v. Stearns Mgmt. Corp., 157 F. Supp.

  2d 942, 947 (N.D. Ill. 2001)); Regional Props. v. Financial & Real Estate Consulting, Co., 678
                                                      6
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  F.2d 552, 562 (5th Cir. 1982).

          Certainly, Gentile’s conduct was egregious because the jury’s verdict finding that Gentile

  violated Section 20(b) required a finding that Gentile acted knowingly29 when he used SureTrader

  to violate Section 15(a)(1). ECF No. [314] at p. 10. The jury rejected Gentile’s affirmative

  defense of good faith and found that he did not meet his burden to show that he did not act

  recklessly or with conscious disregard of a substantial and unjustifiable risk in gross deviation

  from accepted standards. ECF Nos. [313; 314 at p. 9]. Video evidence at trial showed Gentile

  explaining that he “started SureTrader because there needed to be a revolution for trading” because

  he believed that U.S. firms “put too many restrictions” on their customers, “limit how much buying

  power they give,” and “require a lot of capital in your account in order to trade.” 30 Upon being

  shown the video, Gentile said “[t]hat is a great video, by the way.”31 Gentile wanted to service

  customers who sought to avoid U.S. pattern day trading rules (including the $25,000 minimum

  equity requirement), and Gentile used SureTrader to do exactly that, touting on its website how

  “SureTrader Allows You to Avoid the Nasty PDT Rule.”32 Gentile created the “Affiliate

  Program” to work with U.S.-based online day trading schools to advertise SureTrader’s services

  and so that U.S. day trading students were funneled to SureTrader. In fact, SureTrader’s records

  reflect that 97% of “United States” accounts that traded had opening deposit amounts of $5,000

  or less, and 43% of “United States” accounts that traded had opening deposit amounts of $1,000




 29
    The Court’s Instructions to the Jury for Count III-Section 20(b) of the Exchange Act defined
 “knowingly” as acting “with intent to deceive, manipulate, or defraud.” ECF No. [314] at p. 10. The
 SEC sought to amend this instruction to remove the fraud component because the underlying
 violation was for unregistered broker activity in violation of Section 15(a), which is a strict liability
 claim and is not a fraud based claim. ECF No. [309] at pp. 3-4. The Court denied the SEC’s request.
 See ECF No. [314].
 30
    ECF No. [341], PX 277.
 31
    ECF No. [351], Trial Tr. Day 7 at 262:2-4.
 32
    ECF No. [323-17], PX 265.
                                                    7
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  or less. Lefferts Dec. at ¶¶ 25-26.

          Second, SureTrader and Gentile’s conduct was recurrent, far reaching, and lasted several

  years. For the entirety of the existence of SureTrader and during the Relevant Period, SureTrader

  and Gentile disregarded the broker registration requirement and solicited customers located in the

  U.S. without registering with the SEC. Gentile was fully aware of the registration requirement

  from the inception of SureTrader and concocted multiple tactics to attempt to avoid compliance.

  Gentile and SureTrader engaged in a systemic practice of noncompliance with Section 15(a)(1) of

  the Exchange Act.

          Third, as argued supra, the jury found that Gentile acted knowingly when he used

  SureTrader to violate Section 15(a)(1). ECF No. [314] at p. 10. Even if the verdict did not require

  a finding of Gentile’s knowing conduct, courts have frequently found injunctions to be appropriate

  for non-scienter based broker-dealer registration violations.    See, e.g., SEC v. Keener,33 644 F.

  Supp. 3d 1290 (S.D. Fla. 2022) (permanently enjoining unregistered dealer); SEC v Almagarby, 92

  F.4th 1306 (11th Cir. 2024) (permanently enjoining unregistered dealers); SEC v. Sky Way Global,

  No. 8:09-cv-455-T-23TBM, 2010 WL 3025033, at *2 (M.D. Fla. July 29, 2010) (in default order,

  court found injunction against broker-dealer registration violations to be appropriate); SEC v.



 33
    The proposed Final Judgment (attached as Exhibit I) against Gentile conforms with Eleventh
 Circuit law, which requires that judgments for injunctive relief describe in reasonable detail the acts
 or conduct sought to be restrained. SEC v. Goble, 682 F.3d 934, 951-52 (11th Cir. 2012). Goble
 held that injunctions that track the language of the antifraud provisions “deprive defendants of
 procedural safeguards that would ordinarily accompany a future charge of a violation of the securities
 laws” because of the broad range of conduct encompassed by those Section 10(b) and Rule 10b-5 of
 the Exchange Act. Id. at 952. The Eleventh Circuit acknowledged that an injunction based on a
 statutory provision that states specifically what is required to comply with it could satisfy Fed. R.
 Civ. P. 65(d)(1) and be permissible because the rules “specifically describe the acts required of the
 person enjoined.” Id. (noting that an injunction against violations of Exchange Act Sections 15(c)(3)
 and 17(a) and Exchange Act Rules 15c3-3 and 17a-3 may be permissible). Thus, under Goble, “a
 broad, but properly drafted injunction, which largely uses the statutory or regulatory language” is
 permissible “so long as it clearly lets the defendant know what he is ordered to do or not.” Id. at 952.

                                                    8
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  Collyard, 154 F. Supp. 3d 781, 793 (D. Minn. 2015), aff’d in part and vac’d on other grounds, 861

  F.3d 760 (8th Cir. 2017); SEC v. Offill, No. 3:07-CV- 1643-D, 2012 WL 1138622, at *4-5 (N.D.

  Tex. Apr. 5, 2012)(granting permanent injunction).

        As to the fourth and fifth factors, Gentile has provided no assurances that he will not repeat

 the violations and completely failed to acknowledge any aspect of Defendants’ wrongful conduct.

 Gentile categorically denied the violations, and his defenses were that SureTrader was exempt from

 registration and that he acted in good faith. Even after the jury’s verdict, Gentile called the SEC’s

 case a “sham case” and his counsel said, “I feel this verdict is a sham.”34 Thus, Gentile continues

 to shift the blame and has provided no assurances against future violations, nor has he recognized

 the wrongful nature of his conduct.

        Finally, Gentile’s extensive history in the securities industry would allow him to continue his

 past pattern of committing violations. Gentile testified proudly at trial about his long history and

 expertise in the securities industry, including holding several securities licenses and

 owning/operating multiple securities related businesses since the early 2000s.35 In fact, SureTrader’s

 records reflect the sprawling web of entities using the same “Mint” moniker in which Gentile was a

 President, Director, CEO, or Sole Member. See Swiss America (Mint Group) International Structure

 attached as Exhibit B. Consequently, Gentile has similar opportunities to commit future violations,

 especially operating an offshore broker that is intended to run undetected by the SEC. Unless

 enjoined, Gentile will have the ability to resume his unregistered foreign broker business with

 minimal effort and target U.S. customers through the internet, use of third-parties, and other means.

 For all of these reasons, a permanent injunction is clearly warranted.


 34
    See Bahamas broker guilty of US legal violations | The Tribune (tribune242.com) (last visited on
 October 15, 2024); Bahamas Broker Gentile to Appeal SEC Non-Registration Verdict
 (bloomberglaw.com) (last visited on October 15, 2024).
 35
    Trial Tr. Day 7 at 246:21-257:3.
                                                   9
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  B. The Court Should Order SureTrader and Gentile to Disgorge Their Ill-Gotten Gains

         Exchange Act Sections 21(d)(5) and 21(d)(7) authorize courts to order disgorgement in SEC

  enforcement actions. 15 U.S.C. §§ 78u(d)(5) & 78u(d)(7); see also, Liu v. SEC, 140 S. Ct 1936

  (2020) (upholding the authority of lower courts to order disgorgement pursuant to Section 21(d)(5)

  of the Exchange Act. 15 U.S.C. § 78u(d)(5)).36 Indeed, the SEC is entitled to disgorgement upon

  producing a reasonable approximation of a defendant's ill-gotten gains. Calvo, 378 F.3d at 1217.

  “Exactitude is not a requirement; so long as the measurement of disgorgement is reasonable, and risk

  of uncertainty should fall on the wrongdoer whose illegal conduct created that uncertainty.” Id.; see

  also, SEC v. Hall, 759 Fed. Appx. 877, 882 (11th Cir. 2019). Once the SEC provides a reasonable

  approximation, “the burden then shifts to the defendant to demonstrate that the SEC's estimate is not

  a reasonable approximation.” Calvo, 378 F.3d at 1217; Hall, 759 Fed. Appx. at 883. Further, a

  defendant’s current financial situation, or any hardship that disgorgement would impose, are not

  factors to be considered in determining disgorgement. SEC v. Warren, 534 F.3d 1368, 1370 (11th

  Cir. 2008).

          Courts have repeatedly recognized that disgorgement is measured by a defendant’s gain, not

  investor losses. See, e.g., Keener, 644 F. Supp. 3d at 1304-05; Almagarby, 2021 WL 4461831, at *3

  (rejecting post-Liu argument that there was no causation between dealer registration violation and

  investor losses and stating “disgorgement is measured by Defendant’s profits and not investor

  losses”) (citing SEC v. U.S. Pension Trust Corp., 2010 WL 3894082, at *23 (S.D. Fla Sept. 10, 2010)

  (“The disgorgement amount should be calculated by measuring illegal profits, not an amount needed




  36
    After Liu, on January 1, 2021, Congress enacted the National Defense Authorization Act for Fiscal
  Year 2021, Pub. L. No. 116-283 (“NDAA”), which includes the disgorgement provision since
  codified at 15 U.S.C. § 78u(d)(7). The NDAA applies to “any action or proceeding that is pending
  on, or commenced on or after” January 1, 2021. NDAA Section 6501(b).

                                                   10
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  to reimburse defrauded investors.”)); SEC v. Levin, 849 F.3d 995, 1006 (11th Cir. 2017) (affirming

  disgorgement where “the district court properly based the disgorgement upon Levin’s gains and not

  the investors’ losses”).

         Joint and several liability is appropriate pursuant to the express terms of Section 20(a), which

  states, “Every person who, directly or indirectly, controls any person liable under any provision of

  this chapter or of any rule or regulation thereunder shall also be liable jointly and severally with and

  to the same extent as such controlled person . . . .” Joint and several liability is also consistent with

  Sections 21(d)(7) of the Exchange Act, in light of Gentile’s ownership and control of SureTrader.

  Moreover, “[i]t is a well settled principle that joint and several liability is appropriate in securities

  laws cases where two or more individuals or entities have close relationships in engaging in illegal

  conduct.” Calvo, 378 F.3d at 1215. See also SEC v. Hughes Capital Corp., 124 F.3d 449, 455 (3d.

  Cir. 1997) (“Courts have held that joint and several liability is appropriate in securities cases when

  two or more individuals or entities collaborate or have close relationships in engaging in the illegal

  conduct); First Jersey Sec., 101 F.3d at 1475 (holding officer who collaborated in unlawful conduct

  of firm may be held jointly and severally liable with firm for disgorgement of unlawful gains

  received).

         As argued above, Gentile violated Section 20(b) by knowingly engaging in unregistered

  broker activity in violation of Section 15(a)(1) and should be ordered to disgorge his ill-gotten gains.

  The fact that SureTrader committed a non-scienter based violation of Section 15(a) does not diminish

  the obligation to pay disgorgement. “Disgorgement is not dependent on scienter, but is tied instead

  to the idea of unjust enrichment: the broad idea is that persons not profit from breaking the securities

  laws.” SEC v. Merchant Capital, 397 Fed. Appx. 593, 595 (11th Cir. 2010). Thus, courts have not

  hesitated to order disgorgement where, as here, the violations by SureTrader did not require a finding

  of scienter.   See, e.g., Keener, 644 F. Supp. 3d at 1303 (ordering disgorgement for securities
                                                     11
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  registration violations); SEC v. Friendly Power, 49 F. Supp. 2d 1363, 1372-73 (S.D. Fla. 1999)

  (ordering disgorgement for securities registration violations); SEC v. Enviro Board Corp., No. CV

  16-6427-R, 2017 WL 4586335, at *4 (C.D. Cal. May 9, 2017) (ordering disgorgement for securities

  and broker-dealer registration violations).

                                       Calculation of Disgorgement

          Consistent with these principles, the SEC has identified the ill-gotten gains that SureTrader

  and Gentile generated by operating as an unregistered foreign broker by soliciting customers located

  in the U.S. Specifically, using the company’s records37 the SEC compiled the account information

  for SureTrader’s customers and their trading activity each month during the Relevant Period. See

  Lefferts Dec. at ¶¶ 6-10. Alexander Lefferts, who is a Securities Compliance Examiner with the

  SEC, aggregated the data contained in 41,632 customer folders, to create an Overall Summary

  Worksheet. Id. at ¶ 4. The Overall Summary Worksheet contains the total customer accounts traded,

  trades made, shares traded, and commissions, and categorizes all accounts between U.S. accounts

  and non-U.S. accounts, for the Relevant Period. The Overall Summary Worksheet reflects, among

  other details, the percentage of SureTrader’s commissions that are attributable to U.S. customers (as

  a percentage of total commissions from all countries) on a quarterly basis, which is summarized in

  Table 5 on p. 4 of Lefferts’ Dec.:

                                                                                       United States v.
                  Trade             Total Commission           Total Commission             Total
                 Quarter          (All Countries) (USD)      (United States) (USD)      (Commission)
       2016-Q2                                $1,830,519                   $763,149                42%
       2016-Q3                                $1,582,968                   $774,990                49%
       2016-Q4                                $1,669,093                   $903,425                54%
       2017-Q1                                $2,065,940                $1,330,043                 64%
       2017-Q2                                $3,132,451                $2,260,621                 72%
       2017-Q3                                $2,852,845                $2,058,903                 72%
       2017-Q4                                $3,355,547                $2,520,452                 75%
       2018-Q1                                $3,306,505                $2,571,252                 78%
       2018-Q2                                $3,120,631                $2,477,472                 79%

  37
   The records were produced by the JOLs (May 1, 2023 Letter from Igal Wizman attached as Exhibit
  C) in response to the Request for International Judicial Assistance, ECF No. [116].
                                                    12
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       2018-Q3                                  $2,664,873              $2,053,541                77%
       2018-Q4                                  $2,818,658              $2,140,426                76%
       2019-Q1                                  $2,781,344              $2,131,739                77%
       2019-Q2                                  $2,531,491              $1,988,385                79%
       2019-Q3                                  $1,809,868              $1,340,214                74%
         Total (2016-Q2 through
                       2019-Q3)                $35,522,732             $25,314,613                71%

           Disgorgement was then calculated using the percentage of commissions from U.S. customers

  from Table 5 in Lefferts’ Dec. (and the Overall Summary Worksheet attached as Ex. 1 thereto) and

  applied to the net income reported by SureTrader (in its quarterly Financial and Operational Reports

  (Form 13), which SureTrader was required to submit to the Securities Commission of the Bahamas:

       Quarter         SureTrader                    Percentage of          Disgorgement Amount
                    Net Income (USD)           SureTrader Commissions              (USD)
                                                  from U.S. Resident
                                                Customers (Table 5 and
                                                Ex. 1 to Declaration of
                                                 Alexander Lefferts)
   Q2 2016                        $1,151,558                        42%                    $483,654
   Q3 2016                          $410,223                        49%                    $201,009
   Q4 2016                        $(288,733)                        54%                  $(155,916)
   Q1 2017                          $910,003                        64%                    $582,402
   Q2 2017                        $2,890,683                        72%                  $2,081,292
   Q3 2017                        $1,727,799                        72%                  $1,244,015
   Q4 2017                        $2,090,486                        75%                  $1,567,865
   Q1 2018                        $(259,863)                        78%                  $(202,693)
   Q2 2018                          $519,067                        79%                    $410,063
   Q3 2018                        $7,020,096                        77%                  $5,405,474
   Q4 2018                          $258,808                        76%                    $196,694
   Q1 2019                        $1,349,901                        77%                  $1,039,424
   Q2 2019                        $1,277,048                        79%                  $1,008,868
   Q3 2019                        $(989,651)                        74%                  $(732,342)
                                                                                        $13,129,809

  See Declaration of Tonya Tullis (“Tullis Dec.) attached as Exhibit D at ¶ 5.

           For the purposes of the disgorgement calculation, the SEC has accepted as accurate38 the data



  38
    Each Financial and Operational Report – Form 13 contains the following Attestation, signed by the
  Chief Financial Officer of SureTrader: “I, the undersigned, hereby affirm that to the best of our
  information, knowledge and belief that: . . . The contents of this form and any attachments provided
  with this form are true, correct and not misleading.”
                                                       13
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  contained in SureTrader’s quarterly financial filings made with the Securities Commission of the

  Bahamas. The quarterly filings include all of the company’s purported gross expenses, and thus, no

  additional expenses have been deducted, nor should they be. All of the commissions paid by U.S.

  customers during the Relevant Period were included in this calculation as ill-gotten gains because

  the jury found that SureTrader violated Section 15(a)(1) by failing to register with the SEC and

  Gentile is both liable as a control person under Section 20(a) of the Exchange Act and for acting

  through SureTrader under Section 20(b) of the Exchange Act. Thus, the amount of disgorgement

  against SureTrader and Gentile, jointly and severally, during the Relevant Period39 is $13,129,809.

         Additionally, one of the operating expenses reported in SureTrader’s audited Consolidated

  Financial Statements for 201640 is a $4.8 million consultancy fee payable to Swiss America Group

  (“SAG”). As of year-end 2016, there was a corresponding payable of $3,499,500 to SAG. Thus,

  this indicates that $1,300,500 was paid to SAG in 2016. The Swiss America Asset Trust (“Trust”)

  owns all 1,000 shares in SAG. See Exhibit E. In turn, Gentile and his children are the beneficiaries

  of the Trust. See Exhibit F. For purposes of establishing disgorgement as to SureTrader, the SEC

  is accepting the consulting expense as accurate. However, the consultancy fee arrangement with

  SAG (one of many SureTrader related entities owned by Gentile, directly or indirectly) appears to

  have been arranged around the time that Gentile purportedly resigned from the company in December

  2015 and allowed Gentile to receive compensation from the company during 2016 when he claimed

  to not be involved in SureTrader’s management or operations. Gentile received these funds as a


  39
     Although the relevant period in this case is March 2016 to November 2019, the income from the
  months of March 2016, October 2019, and November 2019 is not included in the analysis. March
  2016 was not included because there were no financial statements reflecting the net income for that
  time period. Similarly, October 2019 and November 2019 were not included because no Quarterly
  Financial and Operational Report – Form 13 as of the quarter ended December 31, 2019, was received
  by the Commission.
  40
     The Consolidated Financial Statements were approved by the Board of Directors, authorized for
  issue on June 11, 2018, and signed on its behalf by Gentile as a Director. ECF No. [322-3] at p. 8.
                                                  14
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  beneficiary of the Trust that owns SAG. Thus, Gentile’s personal disgorgement liability should be

  increased by the consultancy fee (prorated for the relevant period, March 2016 to December 2016)

  of $1,083,750. See Tullis Dec. at ¶ 7.

         Having produced a reasonable approximation of SureTrader and Gentile’s ill-gotten gains,

  the SEC is entitled to disgorgement. If paid, the Commission staff has determined that it would be

  feasible to distribute to U.S. investors who collectively lost more than $29.69 million during the

  Relevant Period.

  C.     The Court Should Order Pre-Judgment Interest

         The Court should order Defendants to pay prejudgment interest on the amounts of

  disgorgement it orders. The purpose of prejudgment interest is “to divest those found liable under

  the securities laws of any benefit accrued from the use of the ill-gotten gain.” SEC v. Yun, 148 F.

  Supp. 2d 1287, 1293 (M.D. Fla. 2001), aff'd in part and vac’d on other grounds, 327 F.3d 1263 (11th

  Cir. 2001). Courts routinely use the IRS underpayment rate when calculating prejudgment interest

  in SEC enforcement actions because “[t]hat rate reflects what it would have cost to borrow the money

  from the government and therefore reasonably approximates one of the benefits the defendant derived

  from its fraud.” SEC v. Radius Capital Corp., No. 2:11-cv-116- FtM-29DNF, 2015 WL 1781567, at

  *7 (M.D. Fla. Apr. 20, 2015) (citations and quotations omitted).

         Using the IRS underpayment rate and calculating from December 1, 2019 (SureTrader ceased

  its operations in November 2019), the prejudgment interest on the proposed disgorgement figure of

  $13,129,809 against SureTrader and Gentile is $3,547,617. See Tullis Dec. at ¶ 6. Additionally, for

  the separate proposed disgorgement from Gentile of $1,083,750, calculating from December 31,

  2016 (the latest date when Gentile received a benefit from the purported consulting agreement), the

  prejudgment interest is $502,278. Id. at ¶ 8. Accordingly, the Court should order SureTrader and

  Gentile, jointly and severally to pay $16,677,426, and Gentile to pay $1,586,028.
                                                  15
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  D.     The Court Should Order Gentile to Pay a Civil Penalty

         Section 21(d)(3) of the Exchange Act authorizes the Court to order penalties for violations of

  the federal securities laws, providing three tiers of escalating penalty amounts. 15 U.S.C. § 78u(d)(3).

  Even under the lowest tier for non-scienter based violations, courts may impose a penalty up to the

  amount of a defendant’s gross pecuniary gain, which here totaled more than $13 million from the

  percentage of SureTrader’s commissions attributable to U.S. customers.              See 15 U.S.C. §

  78u(d)(3)(B)(i). For individuals, courts may impose a first-tier penalty of up to $11,524 for any

  violation. SEC v. Monterosso, 756 F.3d 1326, 1338 (11th Cir. 2010) (citing 15 U.S.C. § 77t(d); 15

  U.S.C. § 78u(d)(3)); 17 C.F.R. § 201.1004(a), Table I);41 Keener, 644 F. Supp. 3d at 1308 (citing 15

  U.S.C. § 78u(d)(3)(B)(i)). In general, “[c]ivil penalties are intended to punish the individual

  wrongdoer and to deter him and others from future securities violations.” Keener, 644 F. Supp. 3d at

  1308 (citing Monterosso, 756 F.3d at 1338). The decision whether to impose a penalty and in what

  amount falls within the Court’s discretion. Id. (citing SEC v. Aura Financial Services, Inc., No. 09-

  cv-21592, 2010 WL 3419200, at *3 (S.D. Fla. July 14, 2010)).

         Courts look to a number of factors, including: (1) the egregiousness of the defendant’s

  conduct; (2) the degree of the defendant’s scienter; (3) whether the defendant’s conduct created

  substantial losses or the risk of substantial losses to other persons; (4) whether the defendant’s

  conduct was isolated or recurrent; and (5) whether the penalty should be reduced due to the

  defendant’s demonstrated current and future financial condition. SEC v. Big Apple Consulting USA,

  Inc., No. 6:09-cv-1963-Orl-28GJK, 2013 WL 1352166, at *3 (M.D. Fla. Mar. 29, 2013), aff’d 783

  F.2d 786 (11th Cir. 2015). However, these factors are not a rigid checklist that must be satisfied in


  41
     The penalty amounts for each tier are periodically adjusted for inflation. See 17 C.F.R. §
  201.1004(a). The penalties enumerated above apply to violations occurring from November 3, 2015,
  to the present. See Inflation Adjustments to the Civil Monetary Penalties Administered by the
  Securities and Exchange Commission (as of January 15, 2024) (last accessed on October 15, 2024).
                                                    16
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  every case. Id. (while “these factors are helpful in characterizing a particular defendant’s actions. . .

  each case ‘has its own particular facts and circumstances which determine the appropriate penalty to

  be imposed’”) (citation and quotation omitted).

         Evaluated in their totality, these factors weigh in favor of ordering penalties against Gentile.

  With respect to the first two factors, Gentile’s conduct was egregious, and the jury found that Gentile

  knowingly, directly or indirectly, through SureTrader, engaged in unregistered broker activity in

  violation of Section 15(a)(1). The jury rejected Gentile’s affirmative defense of good faith and found

  that he did not meet his burden to show that he did not act recklessly or with conscious disregard of

  a substantial and unjustifiable risk in gross deviation from accepted standards. ECF Nos. [313, 314

  at p. 9]. Unlike in more conventional failure to register cases, such as Keener, where an investor

  could arguably purchase the same security from a registered broker or dealer, Gentile and

  SureTrader’s conduct was more egregious because they created a vehicle for U.S. customers to

  pattern day trade when they otherwise would not have been able to with a registered broker because

  said broker would have been bound by U.S. Pattern Day Trading Rules, including minimum $25,000

  equity and leverage limitations. In fact, 97% of “United States” accounts that traded had opening

  deposit amounts of $5,000 or less, and 43% of “United States” accounts that traded had opening

  deposit amounts of $1,000 or less. Lefferts Dec. at ¶¶ 25-26.

         As to the third factor, Gentile’s violations created substantial losses to SureTrader’s

  customers. The evidence at trial shows that SureTrader solicited and opened thousands of accounts

  for U.S. Customers during the Relevant Period.42 For all U.S. customers during the Relevant Period,

  they paid $25.27 million in commissions but lost $29.69 million on the trade activity. Lefferts Dec.

  at ¶ 23. Additionally, at trial, two SureTrader customers, Mazen Agha and Orestes Jimenez, testified


  42
    ECF Nos. [321-5 through 7], PX 18-20; [10 through 14], PX 34-38; [324-1 through 332-8], PX
  286.
                                                     17
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  as to their losses.43

          For the fourth factor, Gentile’s conduct was recurrent. Gentile’s violations were not isolated

  because he structured SureTrader in a way to solicit U.S. Customers and avoided Section 15(a)

  registration requirements from its inception in 2011 until it shut down in late 2019.

          Finally, as to the fifth factor, the records of SureTrader’s customers’ trading activity show

  that SureTrader and Gentile received significant net income generated by U.S. customers’ trading.

  SureTrader’s own records show that it indirectly paid Gentile $1,300,500 via the consulting

  agreement in 2016 after, according to Gentile’s own testimony, Gentile had no involvement in the

  business during that time period. Additionally, SureTrader’s JOLs, who were appointed by the

  Bahamas Supreme Court, reported opaque circumstances surrounding Gentile’s winding down of

  SureTrader during the third and fourth quarters of 2019. Based upon the JOLs’ First Report dated

  August 30, 2022 (attached as Exhibit G), in the five months leading up to Gentile shutting down

  SureTrader, its assets were depleted. SureTrader’s unaudited balance sheet for the period ending

  June 30, 2019, reflected total assets of $64,773,135, liabilities of $40,533,668, and total equity of

  $24,239,467. As of December 31, 2019, SureTrader’s assets were reported to be $33,489, yet the

  JOLs did not identify any additional cash or investments held by SureTrader. Id. at p. 8. The JOLs’

  First Report raises serious questions about Gentile’s handling of SureTrader’s finances in its last

  days, and the circumstances indicate that Gentile likely received the benefit of SureTrader’s closure.

                                      Calculation of Civil Penalty

          Consistent with this Court’s ruling in Keener, 644 F. Supp. 3d 1290 (S.D. Fla. 2022), the SEC

  seeks imposition of a penalty in the amount of the costs Gentile avoided by not registering SureTrader

  with the SEC as required under Section 15(a)(1) during the Relevant Period. Such a penalty sends


  43
    ECF No. [350], Trial Tr. Day 6 at 48:13-21; Trial Tr. Day 7 at 198:21-199:6; ECF Nos. [322-2],
  PX 151; [323-1], PX 186.
                                                    18
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  the message to brokers “that failing to register is never in the [broker’s] financial interest.” Id. at

  1308. Indeed, in promulgating Section 21(d)(3) of the Exchange Act, Congress recognized the need

  to “provide a financial disincentive to violations that reflect an unwillingness to incur the cost of full

  compliance with the securities laws, as opposed to engaging in affirmative conduct to defraud

  investors.” Securities Law Enforcement Remedies Act of 1990, H.R. Rep. 101-616, 1990 WL 25646,

  at *1384 (July 23, 1990). The House Report further noted that “[a] broker-dealer . . . may fail to

  comply with regulatory requirements simply because it is unwilling to devote the resources necessary

  to comply with these statutory objectives.…To the extent that such violations are motivated by a

  desire to maximize profits by reducing costs, the prospect of civil money penalties will improve

  compliance with the law and have a significant remedial effect.” Id.

         Here, there is a substantial need to deter Gentile and others from this type of conduct. Even

  in non-scienter based failure to register cases, a penalty is appropriate. Keener, 644 F. Supp. 3d at

  1307-08; see also Friendly Power, 49 F. Supp. 2d at 1373 (ordering $100,000 penalty for violation

  of securities registration requirements); SEC v. Lefkowitz, No. 8:12-cv-1210-T35-MAP, 2013 WL

  12170296, at *6 (M.D. Fla. Sep. 6, 2013) (in default motion, court imposed civil penalty equaling

  defendant’s gross pecuniary gain based on violations of securities registration requirements).

         In Keener, this Court imposed as a penalty the initial costs of registration and continuing costs

  of maintaining registration identified in the SEC’s Proposed Rule: Further Definition of “As a Part

  of a Regular Business” in the Definition of Dealer and Government Securities Dealer, Release No.

  34-94524, 87 Fed. Reg. 23054 (Apr. 18, 2022). 644 F. Supp. 3d at 1307-08. Since this Court’s

  opinion in the Keener case, the SEC issued the Final Rule on Further Definition of “As a Part of a

  Regular Business” in the Definition of Dealer and Government Securities Dealer in Connection with




                                                     19
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  Certain Liquidity Providers,” Release No. 34-99477, 89 Fed. Reg. 14838 (Feb. 29, 2024).44 There

  are three components to the registration costs SureTrader should have paid during the Relevant

  Period:     initial registration, ongoing registration, and annual audit.    Based upon the inflation

  adjustment formula45 described in the Final Rule, id. at n.504, the initial cost of registration in March

  2016, adjusted for inflation is $500,729,46 and the ongoing registration costs are $458,375

  ($230,33547 for ongoing registration costs and $228,04048 for annual audits). Thus, the cost for

  SureTrader and Gentile to register and maintain registration during the Relevant Period would have

  been $1,875,854.

            As the jury found Gentile to be a control person of SureTrader under Section 20(a) and having

  violated Section 20(b) knowingly, this Court should impose a penalty of $1,875,854 on Gentile as it

  forces Gentile to “pay the costs he sought to avoid by declining to register” SureTrader. Keener, 644

  F. Supp. 3d at 1308. In addition, this Court should impose a first-tier penalty of $11,524 on Gentile.

  Thus, the SEC seeks imposition of a total civil penalty amount against Gentile of $1,887,378.49


  44
     Based on comments to the Proposed Rule, with respect to the ongoing cost of broker-dealer
  registration, the SEC included an auditing expense of $300,000. Id. at 14982 n. 508.
  45
     The data from Consumer Price Index (CPI) Databases: U.S. Bureau of Labor Statistics (bls.gov)
  was used in the Magistrate Judge’s Report and Recommendation. SEC v. Keener, 2022 WL
  17748407, at *15 (S.D. Fla. Aug. 8, 2022).
  46
     The baseline (from October 2015) for Initial Registration is $500,000. The inflation adjustment
  from October 2015 to March 2016 (start of the Relevant Period) is an increase in .145962%. Thus,
  $500,000 x 1.00145962 = $500,729.
  47
     The baseline (from October 2015) for Ongoing Registration Costs is $230,000. The inflation
  adjustment from October 2015 to March 2016 is an increase in .145962%. Thus, $230,000 x
  1.00145962 = $230,335.
  48
     The baseline (as of April 2024) for annual audit costs is $300,000. The inflation adjustment from
  April 2024 to March 2016 is decreased to .76013627. Thus, $300,000 x .76013627 = $228,040.
  49
     The proposed penalty is 13.28% of the SEC’s proposed total disgorgement amount against Gentile
  ($14,213,559). Although this Court declined to use a percentage-of-disgorgement penalty formula
  in Keener, this figure is similar to the percentage the Commission has obtained in other recent
  unregistered dealer cases. See, e.g., SEC v. Fierro, No. 20-02104 (D. N.J. Jun. 29, 2023) (civil
  penalty about 12.3% of disgorgement); SEC v. GPL Ventures LLC, No. 21-cv-6814 (AKH) (S.D.N.Y.
  May 2, 2023) (civil penalty about 12% disgorgement); SEC v. Crown Bridge Partners, LLC, No. 22-
  cv-06537-JPC (S.D.N.Y. Aug. 9, 2022) (settled; civil penalty represented about 10% of
                                                     20
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                                          IV. CONCLUSION

         For the foregoing reasons, the Court should enter an order imposing the remedies the SEC has

  requested and enter final judgments for: (a) a permanent injunction against Gentile from violating

  Sections 15(a) and 20(b) of the Exchange Act, which the jury found he violated; (b) disgorgement

  against SureTrader and Gentile, on a joint and several basis, in the amount of $13,129,809, plus

  prejudgment interest of $3,547,617, for a total of $16,677,426; (c) additional disgorgement against

  Gentile in the amount of $1,083,750, plus prejudgment interest of $502,278, for a total of $1,586,028;

  and a civil money penalty against Gentile in the amount of $1,887,378. Proposed Final Judgments

  incorporating the remedies and terms the SEC has requested in this Motion against SureTrader and

  Gentile are attached as Exhibits H and I, respectively.

                         Certificate of Conferral under Local Rule 7.1(a)(3)

         Undersigned counsel emailed counsel for Gentile on October 18, 2024 three times to

  determine whether there is opposition to the relief sought, but as of the time of filing this Motion has

  not received a response.




  disgorgement). While the proposed civil penalty is slightly higher than the amount imposed in SEC
  v. Almagarby, 2021 WL 4459439, at *1 (S.D. Fla. Sept. 29, 2021) (civil penalty approximately 9%
  of disgorgement), it is nonetheless appropriate because of Gentile’s conduct in light of the factors.
                                                    21
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  October 18, 2024.                     Respectfully submitted,

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